      Case 1:24-cr-20272-RKA Document 74 Entered on FLSD Docket 02/20/2025 Page 1 of 9

                                       UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF FLORIDA
                                                      MIAMI DIVISION

 UNITED STATES OF AMERICA                                                     §      JUDGMENT IN A CRIMINAL CASE
                                                                              §
 v.                                                                           §
                                                                              §      Case Number: 1:24-CR-20272-RKA(1)
 EDWARD CORDOVEZ                                                              §      USM Number: 19004-511
                                                                              §
                                                                              §      Counsel for Defendant: Daniel Ecarius
                                                                              §      Counsel for United States: Jacob Harris Koffsky
THE DEFENDANT:
       pleaded guilty to counts 1, 2, 3, 4, 5, and 6 of the
 ☒ third superseding indictment (ECF No. 37).
       pleaded guilty to count(s) before a U.S.
 ☐ Magistrate Judge, which was accepted by the
       court.
       pleaded nolo contendere to count(s) which was
 ☐     accepted by the court
       was found guilty on count(s) after a plea of not
 ☐     guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                    Offense Ended           Count
 18 U.S.C. § 2251(a) and (e) – Production of material involving the sexual exploitation of minors.      05/30/2023              1sss
 18 U.S.C. § 2251(a) and (e) – Production of material involving the sexual exploitation of minors.      01/29/2024              2sss
 18 U.S.C. § 2251(a) and (e) – Production of material involving the sexual exploitation of minors.      05/30/2024              3sss
 18 U.S.C. § 2251(a) and (e) – Production of material involving the sexual exploitation of minors.      06/03/2024              4sss
 18 U.S.C. § 1466A(a)(2) - Distribution of visual representations of the sexual abuse of children.      05/24/2023              5ss

The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                       February 18, 2025
                                                                       Date of Imposition of Judgment




                                                                       Signature of Judge

                                                                       ROBERT N. SCOLA, JR., for ROY K. ALTMAN
                                                                       SENIOR UNITED STATES DISTRICT JUDGE
                                                                       Name and Title of Judge

                                                                       February 18, 2025
                                                                       Date
    Case 1:24-cr-20272-RKA Document 74 Entered on FLSD Docket 02/20/2025 Page 2 of 9
AO 245B (Rev. FLSD 2/20) Judgment in a Criminal Case                                                                Judgment -- Page 2 of 9

DEFENDANT:                  EDWARD CORDOVEZ
CASE NUMBER:                1:24-CR-20272-RKA(1)

                                   ADDITIONAL COUNTS OF CONVICTION

Title & Section / Nature of Offense                                                                          Offense Ended        Count
18 U.S.C. § 2252(a)(4)(B) and (b)(2) - Possession of material involving the sexual exploitation of minors.   06/06/2024           6s
     Case 1:24-cr-20272-RKA Document 74 Entered on FLSD Docket 02/20/2025 Page 3 of 9
 AO 245B (Rev. FLSD 2/20) Judgment in a Criminal Case                                                          Judgment -- Page 3 of 9

DEFENDANT:                EDWARD CORDOVEZ
CASE NUMBER:              1:24-CR-20272-RKA(1)

                                                     IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
720 months. This sentence consists of a term of 360 months as to count 1; 360 months as to each of Counts 2, 3, and 4 to run
concurrently with each other but consecutively to Count 1; and a term of 60 months as to each of counts 5 and 6, to run concurrently
with each other and concurrently with counts 1, 2, 3, and 4.

 ☒ The court makes the following recommendations to the Bureau of Prisons:
        Defendant be designated to a South Florida facility.



 ☒ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                     ☐    a.m.          ☐   p.m.     on

          ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before 2 p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                           RETURN
I have executed this judgment as follows:


        Defendant delivered on                                   to


at                                     , with a certified copy of this judgment.




                                                                                        UNITED STATES MARSHAL

                                                                                                   By
                                                                                    DEPUTY UNITED STATES MARSHAL
      Case 1:24-cr-20272-RKA Document 74 Entered on FLSD Docket 02/20/2025 Page 4 of 9
 AO 245B (Rev. FLSD 2/20) Judgment in a Criminal Case                                                            Judgment -- Page 4 of 9

DEFENDANT:                 EDWARD CORDOVEZ
CASE NUMBER:               1:24-CR-20272-RKA(1)

                                                   SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of life. This term consists of life as to each
of counts 1, 2, 3, 4, 5, and 6, all such terms to run concurrently.

                                             MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 5. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
     Case 1:24-cr-20272-RKA Document 74 Entered on FLSD Docket 02/20/2025 Page 5 of 9
 AO 245B (Rev. FLSD 2/20) Judgment in a Criminal Case                                                              Judgment -- Page 5 of 9

DEFENDANT:                 EDWARD CORDOVEZ
CASE NUMBER:               1:24-CR-20272-RKA(1)

                               STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. I understand additional information regarding these conditions is available at
www.flsp.uscourts.gov.

 Defendant’s Signature                                                                             Date
     Case 1:24-cr-20272-RKA Document 74 Entered on FLSD Docket 02/20/2025 Page 6 of 9
 AO 245B (Rev. FLSD 2/20) Judgment in a Criminal Case                                       Judgment -- Page 6 of 9

DEFENDANT:                EDWARD CORDOVEZ
CASE NUMBER:              1:24-CR-20272-RKA(1)

                                SPECIAL CONDITIONS OF SUPERVISION
Adam Walsh Act Search Condition: The defendant shall submit to the U.S. Probation Officer conducting
periodic unannounced searches of the defendant's person, property, house, residence, vehicles, papers,
computer(s), other electronic communication or data storage devices or media, include retrieval and copying of
all data from the computer(s) and any internal or external peripherals and effects at any time, with or without
warrant by any law enforcement or probation officer with reasonable suspicion concerning unlawful conduct or
a violation of a condition of probation or supervised release. The search may include the retrieval and copying
of all data from the computer(s) and any internal or external peripherals to ensure compliance with other
supervision conditions and/or removal of such equipment for the purpose of conducting a more thorough
inspection; and to have installed on the defendant's computer(s), at the defendant's expense, any hardware or
software systems to monitor the defendant's computer use.

Computer Modem Restriction: The defendant shall not possess or use a computer that contains an internal,
external or wireless modem without the prior approval of the Court.

Computer Possession Restriction: The defendant shall not possess or use any computer; except that the
defendant may, with the prior approval of the Court, use a computer in connection with authorized employment.

Data Encryption Restriction: The defendant shall not possess or use any data encryption technique or
program.

Employer Computer Restriction Disclosure: The defendant shall permit third party disclosure to any
employer or potential employer, concerning any computer-related restrictions that are imposed upon the
defendant.

Mental Health Treatment: The defendant shall participate in an approved inpatient/outpatient mental health
treatment program. The defendant will contribute to the costs of services rendered (co-payment) based on
ability to pay or availability of third party payment.

No Contact with Minors: The defendant shall have no personal, mail, telephone, or computer contact with
children/minors under the age of 18 years or with the victim.

No Contact with Minors in Employment: The defendant shall not be employed in a job requiring contact with
children under the age of 18 years or with the victim.

No Involvement in Youth Organizations: The defendant shall not be involved in any children's or youth
organization.
     Case 1:24-cr-20272-RKA Document 74 Entered on FLSD Docket 02/20/2025 Page 7 of 9
 AO 245B (Rev. FLSD 2/20) Judgment in a Criminal Case                                         Judgment -- Page 7 of 9

DEFENDANT:                EDWARD CORDOVEZ
CASE NUMBER:              1:24-CR-20272-RKA(1)

Permissible Computer Examination: The defendant shall submit to the U.S. Probation Officer conducting
periodic unannounced examinations of the defendant's computer(s) equipment which may include retrieval and
copying of all data from the computer(s) and any internal or external peripherals to ensure compliance with this
condition and/or removal of such equipment for the purpose of conducting a more thorough inspection; and to
have installed on the defendant's computer(s), at the defendant's expense, any hardware or software systems to
monitor the defendant's computer use.

Permissible Search: The defendant shall submit to a search of his/her person or property conducted in a
reasonable manner and at a reasonable time by the U.S. Probation Officer.

Restricted from Possession of Sexual Materials: The defendant shall not buy, sell, exchange, possess, trade,
or produce visual depictions of minors or adults engaged in sexually explicit conduct. The defendant shall not
correspond or communicate in person, by mail, telephone, or computer, with individuals or companies offering
to buy, sell, trade, exchange, or produce visual depictions of minors or adults engaged in sexually explicit
conduct.

Sex Offender Registration: The defendant shall comply with the requirements of the Sex Offender
Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed by the probation officer, the Bureau of
Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or was
convicted of a qualifying offense.

Sex Offender Treatment: The defendant shall participate in a sex offender treatment program to include
psychological testing and polygraph examination. Participation may include inpatient/outpatient treatment, if
deemed necessary by the treatment provider. The defendant will contribute to the costs of services rendered (co-
payment) based on ability to pay or availability of third party payment.

Unpaid Restitution, Fines, or Special Assessments: If the defendant has any unpaid amount of restitution,
fines, or special assessments, the defendant shall notify the probation officer of any material change in the
defendant's economic circumstances that might affect the defendant's ability to pay.
      Case 1:24-cr-20272-RKA Document 74 Entered on FLSD Docket 02/20/2025 Page 8 of 9
 AO 245B (Rev. FLSD 2/20) Judgment in a Criminal Case                                                                     Judgment -- Page 8 of 9

DEFENDANT:                   EDWARD CORDOVEZ
CASE NUMBER:                 1:24-CR-20272-RKA(1)

                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments page.
                        Assessment             Restitution               Fine AVAA Assessment*                            JVTA Assessment**
 TOTALS                     $600.00                   $.00               $.00

           ☒               The determination of restitution is deferred until April 14, 2025, at 10:00 AM. An Amended Judgment in a
                           Criminal Case (AO245C) will be entered after such determination.
                          The defendant must make restitution (including community restitution) to the following payees in the
                           amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.




 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
       payments page may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☐     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ☐ the interest requirement is waived for the          ☐ fine                            ☐ restitution
       ☐ the interest requirement for the                       ☐ fine                                ☐ restitution is modified as follows:

Restitution with Imprisonment - It is further ordered that the defendant shall pay restitution in the amount of $.00. During the period of
incarceration, payment shall be made as follows: (1) if the defendant earns wages in a Federal Prison Industries (UNICOR) job, then
the defendant must pay 50% of wages earned toward the financial obligations imposed by this Judgment in a Criminal Case; (2) if the
defendant does not work in a UNICOR job, then the defendant must pay a minimum of $25.00 per quarter toward the financial
obligations imposed in this order. Upon release of incarceration, the defendant shall pay restitution at the rate of 10% of monthly gross
earnings, until such time as the court may alter that payment schedule in the interests of justice. The U.S. Bureau of Prisons, U.S.
Probation Office and U.S. Attorney’s Office shall monitor the payment of restitution and report to the court any material change in the
defendant’s ability to pay. These payments do not preclude the government from using other assets or income of the defendant to
satisfy the restitution obligations.

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, 18 U.S.C. §2259.
** Justice for Victims of Trafficking Act of 2015, 18 U.S.C. §3014.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
      Case 1:24-cr-20272-RKA Document 74 Entered on FLSD Docket 02/20/2025 Page 9 of 9
 AO 245B (Rev. FLSD 2/20) Judgment in a Criminal Case                                                                          Judgment -- Page 9 of 9

DEFENDANT:                    EDWARD CORDOVEZ
CASE NUMBER:                  1:24-CR-20272-RKA(1)

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☒ Lump sum payments of $600.00 due immediately, balance due
It is ordered that the Defendant shall pay to the United States a special assessment of $600.00 for Counts 1sss, 2sss, 3sss, 4sss,
5ss and 6s , which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court. Payment is
to be addressed to:

          U.S. CLERK’S OFFICE
          ATTN: FINANCIAL SECTION
          400 NORTH MIAMI AVENUE, ROOM 8N09
          MIAMI, FLORIDA 33128-7716

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

       Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

 ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:
        FORFEITURE of the defendant’s right, title and interest in certain property is hereby ordered consistent with the plea
        agreement. The United States shall submit a proposed Order of Forfeiture within three days of this proceeding.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
